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Transfer of Trademarks and Common Law Trademark Rights

Whereas, CINE CRAFT LIMITED (Seller), 2 corporation organtzed under the laws of the United Kingdom,
located and doing business at 3 Bell Lane Gibraltar, is:the owner of the following U.S, Trademarks, listed
betow, are registered in the United States (collectively the "Trademarks") and visual Image marks as
listed below (collectively the "Works");

Whereas, FRASERSIDE IP LLC {Buyer), a Limited Liability Company organized under the iaws of the State
of lowa, doing business at 837 Central Avenue, Northwood, lowa; and

Whereas Cine Craft Limited desires to transfer and FraserSide [P LLC. desires to acquire all of Seller's
rights in and to the United States Trademarks and visual image marks, common law trademarks and the
goodwill symbolized thereby:

NOW THEREFORE, for good and valuable consideration, the receipt and sufficiency of which are hereby
acknowledged, Seller hereby sells, assigns, transfers and conveys to Buyer all of its right, title, and
interest in and to the Trademarks and visual image marks, together with the goodwill of the business
associated with the Works, the same to be held and enjoyed by Buyer, its successors, assigns, and other
legal representatives.

Seller further conveys to Buyer all right to sue for and recelve all damages accruing from past
infringements of the Works herein assigned.

Seller represents it is the jegal owner of all right, tithe and interest in and to the Works and has the right
to sell the Works and that there are no pending legal proceedings impalring the transferabllity of the
Works.

These Assignments shall be binding upon. the. parties, their successors and/or assigns, and all others
acting by, through, with or under their direction, and all those in privity therewith.

The parties agree to take any fu
of this Assignment.

“Ley
BY: £/4 Y

tle: Authorized Signato)

acti and execute any documents required to effect the purposes

FRASERSIDE IP LLC

Title: Aur rized Signatory

Dated: 02/07/2011 Dated: 02/07/2011

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WORKS

1, Word Mark PRIVATE MEDIA GROUP, INC,
Mark Drawing Code (4} STANDARD CHARACTER MARK
Serial Number 85084291

2. Word Mark EMAG
Mark Drawing Code (5} WORDS, LETTERS, AND/OR NUMBERS iN STYLIZED FORM
Seria] Number 78975722

3; Word Mark PRIVATE TO OWN
Mark Drawing Code (4) STANDARD. CHARACTER MARK
Serial Number 78958877
Registration Number 3540412

4. Word Mark P
Mark Drawing Code (3) DESIGN PLUS WORDS, LETTERS, AND/OR NUMBERS
Serial Number 78725894
Registration Number 3501850

5. Word Mark PRIVATE FANTASY
Mark Drawing Code (4) STANDARD CHARACTER MARK
Serial Number 78534384
Registration Number 3216363

6. Trademark Search Facility Classification Code HUM Accurate representation af a human formi, o7
any portion of a human form
Mark Drawing Code (2) DESIGN ONLY
Serial Number 78529711
Registration Number 3389749

7. Word Mark PRIVATE BLUE
Mark Drawing Code (5) WORDS, LETTERS, AND/OR NUMBERS IN STYLIZED FORM
Serial Number 78467295
Registration Number 3198038

8. Word Mark PRIVATE GIRLS
Mark Drawing Code (4) STANDARD CHARACTER MARK
Serial Number 78461398
Registration Number 3219371

9. Word Mark PRIVATE GOLD
Mark Drawing Code (5) WORDS, LETTERS, AND/OR NUMBERS IN STYLIZED FORM.
Serial Number 78461387
Registration Number 3188677

Tracsfer of Trademarks

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10, Word Mark PRIVATE
Mark Drawing Cade (5) WORDS, LETTERS, AND/OR NUMBERS IN STYLIZED FORM
Serial Number 78290612
Registration Number 3121422

11. Word Mark THE PRIVATE LIFE OF
Serial Number 75812217
Registration Number 2875138

12, Word Mark PIRATE
Mark Drawing Code (5) WORDS, LETTERS, AND/OR NUMBERS IN STYLIZED FORM
Sertal Number 75927272
Registration Number 3137445

13, Word Mark PRIVATE
Mark Drawing Code {1} TYPED DRAWING.
Serial Number 75486289
Registration Number 2443667

14. Word Mark PRIVATE INTERNATIONAL
Mark Drawing Code (5} WORDS, LETTERS, AND/OR NUMBERS IN STYLIZED. FORM
Serial Number 74418220
Registration Number 2201568

15. Word Mark PRIVATE
Mark Drawing Code (1) TYPED DRAWING
Serial Number 72462280
Registration Nurmiber 1014957

Transfer of Trademarks

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